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                                 UNITED STATES DISTRICT COURT
    9                           CENTRAL DISTRICT OF CALIFORNIA
   10      MISS GLOBAL ORGANIZATION                     CASE NO.: 8:17-CV-2223
           LLC, a California limited liability
   11      company and VAN PHAM, an                     COMPLAINT FOR
           individual,
   12                                                   1. TRADEMARK
                               Plaintiffs,                 INFRINGEMENT
   13                                                   2. FEDERAL UNFAIR
           v.                                              COMPETITION
   14                                                   3. CALIFORNIA STATUTORY
           SOKHUNTEA MAK, as known as TEA                  UNFAIR COMPETITION
   15      MAK, an individual; Scott Ware, an           4. CALIFORNIA COMMON LAW
           individual; and DOES 1 through 10,              UNFAIR COMPETITION
   16                                                   5. CIVIL CONSPIRACY
                               Defendants.              6. FRAUD
   17                                                   7. INTENTIONAL
                                                           INTERFERENCE WITH
   18                                                      PROSPECTIVE ECONOMIC
                                                           RELATIONS
   19                                                   8. INTENTIONAL
                                                           INTERFERENCE WITH
   20                                                      CONTRACTUAL RELATIONS
                                                        9. DEFAMATION
   21                                                   10.CONVERSION
                                                        11.CONSTITUTIONAL RIGHT TO
   22                                                      PRIVACY
                                                        12.MISAPPROPRIATION OF
   23                                                      NAME OR LIKENESS
                                                        13.VIOLATION OF CALIFORNIA
   24                                                      CIVIL CODE § 527.6
                                                        14.VIOLATION OF CALIFORNIA
   25                                                      CIVIL CODE § 3344
                                                        15.VIOLATION OF CALIFORNIA
   26                                                      PENAL CODE § 502
                                                        16.VIOLATION OF CALIFORNIA
   27                                                      PENAL CODE § 530.5
   28                                                   JURY TRIAL DEMANDED
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    1           Plaintiffs Miss Global Organization LLC (“MGO”) and Van Pham (“Mr.
    2     Pham”) (collectively “Plaintiffs”), by and through their counsel, submit this
    3     Complaint against Defendants Sokhuntea Mak (“Mak”) and Scott Ware (“Ware”)
    4     (collectively “Defendants”) and allege as follows:
    5                                        THE PARTIES
    6           1.     MGO is a California limited liability company with its principal place of
    7     business at 11101 Condor Ave., Fountain Valley, CA 92708.
    8           2.     Mr. Pham is a citizen of the State of California who resides in Los
    9     Angeles county. Mr. Pham is the founder, sole owner, and CEO of MGO.
   10           3.     On information and belief, Mak resides in Issaquah, Washington. Mak
   11     worked for MGO as a seasonal worker in 2013, 2015, and 2017. Mak has falsely held
   12     herself out as the “President and CEO” and “original founder” of MGO.
   13           4.     On information and belief, Ware resides in Issaquah, Washington. On
   14     information and belief, Ware is associated with Mak. Ware has falsely held himself
   15     out as the “Chief Operating Officer” of MGO.
   16           5.     Plaintiffs are unaware of the true names and capacities of Defendants
   17     sued hereunder as DOES 1 through 10 inclusive, and therefore sue these Defendants
   18     by such fictitious names. Plaintiffs are informed and believed and thereon allege that
   19     each of the fictitiously named Defendants is responsible in some manner for the
   20     occurrences herein alleged, and that Plaintiffs’ damages as herein alleged were
   21     proximately caused by their conduct. Plaintiffs will amend this Complaint to allege
   22     the true names and capacities of DOES 1 through 10 when ascertained.
   23                               JURISDICTION AND VENUE
   24           6.     This Complaint arises under the laws of the United States, specifically
   25     the trademark laws of the United States, 15 U.S.C. §§1114 and 1125. This Court has
   26     original jurisdiction of this action under 15 U.S.C. §1121 and 28 U.S.C. §§ 1331 and
   27     1338. This Court has supplemental jurisdiction under 28 U.S.C. § 1367 because the
   28     claims are so related as to form part of the same case or controversy.
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    1            7.        Personal jurisdiction and venue are proper in this district under 28 U.S.C.
    2     § 1391. On information and belief, Defendants have used Mr. Pham’s trademarks
    3     without authorization in this District, such as conducting and/or soliciting business in
    4     connection with beauty pageants, and have provided products and/or services to the
    5     residents of California and this District, and/or have committed, contributed to, and/or
    6     induced acts of infringement in this District and California. Defendants also operate
    7     infringing websites, including www.officialmissglobal.com
    8     and www.missglobalfoundation.org, directed at residents of California and this
    9     District. Defendants purposefully directed their activities toward California and this
   10     District when they willfully infringed Mr. Pham’s trademark rights, specifically
   11     targeted consumers here, and a substantial part of the harm was felt in California and
   12     this District.
   13            8.        On information and belief, Defendants are subject to this Court’s specific
   14     and general personal jurisdiction consistent with the principles of due process and/or
   15     the California Long Arm Statute, due at least to Defendants’ activities in this forum
   16     directly related to the allegations set forth herein, including: (i) a portion of the
   17     infringement alleged herein, including marketing, distributing, displaying and/or
   18     selling one or more infringing products and/or services bearing Mr. Pham’s
   19     trademarks and/or confusingly similar imitations of Mr. Pham’s trademarks; (ii) the
   20     presence of established distribution and/or marketing channels; and (iii) regularly
   21     doing or soliciting business, engaging in other persistent courses of conduct, and/or
   22     deriving substantial revenue from goods and services provided to individuals and
   23     entities in California and this judicial district.
   24                                   FACTUAL BACKGROUND
   25
                                       Mr. Pham’s Intellectual Property
                 9.        Mr. Pham is the owner of a federal trademark registration, Registration
   26
          No. 4,219,443, issued by the USPTO on October 2, 2012 for “G MISS GLOBAL,”
   27
          which is depicted below, for use in connection with “Entertainment services, namely,
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   10     arranging and conducting beauty pageants.”
   11            10.    Mr. Pham is the owner of the common law trademark for “Miss Global,”
   12     which he has continuously used in California and nationwide in connection with
   13     entertainment services and beauty pageants since at least 2012.
   14            11.    Registration No. 4,219,443 and the common law trademark for “Miss
   15     Global” are collectively Mr. Pham’s “MISS GLOBAL” trademarks.
   16                     Mr. Pham Founded Miss Global Organization LLC
   17            12.    Mr. Pham founded MGO and registered with the California Secretary of

   18     State in 2012. A copy of the original Statement of Information (“SOI”), filed with the

   19     California Secretary of State is attached hereto as Exhibit A. Since its inception, Mr.

   20     Pham has been the sole owner and CEO of MGO.

   21            13.    MGO is the organizer of Miss Global, an annual global beauty pageant

   22     where the contestants compete for the crown of Miss Global.

   23            14.    Since the first Annual Miss Global in 2013, five contestants have been

   24     crowned Miss Global and Miss Global has become an established beauty pageant and

   25     gained worldwide recognition. In 2017, 60 contestants around the world competed

   26     for the coveted title.

   27            15.    Mr. Pham, as the founder and CEO of MGO, has extensively invested,

   28     developed, advertised, promoted, and marketed Miss Global using the MISS
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    1     GLOBAL trademarks. He has invested over $200,000 in MGO throughout the years.
    2     He has obtained several domain names in connection with Miss Global:
    3     www.missglobal.com, www.missteenglobal.com,
    4     www.missglobalvietnam.com, missvietnaminternational.com, missglobalcanada.com,
    5     missglobalthailand.com (collectively, the “Miss Global Domains.”) He has expended
    6     significant time and resources in designing and developing the Miss Global Domains.
    7     He has worked tirelessly with contestants, agents, distributors, and producers and has
    8     attracted serious investors that are interested in hosting and promoting Miss Global in
    9     2018.
   10             16.   Plaintiffs have licensed the MISS GLOBAL marks and/or granted
   11     pageant licenses to national directors from 20 different countries and have been
   12     receiving royalties based on that license.
   13             17.   Mak worked for MGO as a seasonal worker in 2013, 2015, and 2017.
   14     She was first hired by MGO as a contestant coordinator in 2013 for the first Annual
   15     Miss Global. In 2015, Mak was hired as an executive pageant director and worked on
   16     the production for about two weeks. In 2017, Mak was hired again as an executive
   17     pageant director and worked on the production for about two weeks.
   18             18.   Mak has never contributed to any capital or brought any investment to
   19     MGO. She has never worked for or on behalf of MGO as a full time employee or
   20     otherwise, except during the seasonal periods expressed above.
   21
                           Defendants’ Wrongful and Infringing Activities
                  19.   On information and belief, Mak incorporated the Miss Global
   22
          Foundation in September 2017, which is a Washington nonprofit corporation. Both
   23
          Mak and Ware are directors of the Miss Global Foundation. On information and
   24
          belief, Defendants operate a website www.missglobalfoundation.org on behalf of
   25
          Miss Global Foundation.
   26
                  20.   On information and belief, on or around November 22, 2017, Defendants
   27
          fraudulently filed a SOI with the California Secretary of State for MGO, falsely
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    1     listing Mak as the Founder and CEO of MGO. A true and correct copy of the
    2     November 22 SOI is attached hereto as Exhibit B.
    3           21.    On information and belief, Defendants have hacked into Mr. Pham’s
    4     private web-hosting account to transfer ownership of the Miss Global Domains away
    5     from Mr. Pham. As a result, the Miss Global Domains have become inoperative.
    6           22.    On information and belief, Defendants have further invaded Mr. Pham’s
    7     privacy by hacking into his email accounts to delete his private emails in an attempt
    8     to extinguish any traceable evidence of his ownership interest in and to MGO.
    9           23.    On information and belief, Defendants have obtained the domains
   10     officialmissglobal.com and www.missglobalfoundation.org and used them without
   11     authorization from Mr. Pham or MGO.
   12           24.    On information and belief, Defendants have falsely represented to the
   13     contestants, partners, vendors and other business contacts of Miss Global that Mr.
   14     Pham has resigned as CEO of MGO and that Mak is now the “President and CEO” of
   15     MGO. Mak has also falsely held herself out as the “original founder” of MGO and
   16     Ware has falsely held himself out as the “Chief Operating Officer” of MGO.
   17           25.    On information and belief, Defendants also tarnished Mr. Pham’s name
   18     through written communications, publicly or to third parties, including allegations
   19     that “[Mr. Pham] also tried to steal the business license from me,” “now [Mr. Pham]
   20     are attempting to defraud the business” and Mr. Pham “acted recklessly and
   21     irresponsible.”
   22           26.    On information and belief, Defendants also instructed MGO’s business
   23     partners to rescind their contracts with Mr. Pham because they were allegedly void
   24     and to instead contact Mak to reinstate their contracts with MGO.
   25           27.    By willfully disturbing Mr. Pham’s current business relationships,
   26     Defendants damaged Mr. Pham’s reputation among business partners and colleagues,
   27     and intentionally interfered with Mr. Pham’s contractual relations, intentionally
   28     interfered with Mr. Pham’s prospective economic relations and attempted to induce
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    1     and induced breach of contract. As a result, several national directors contacted Mr.
    2     Pham and demanded a refund of their license fees.
    3           28.    On information and belief, Defendants fraudulently obtained Mr. Pham’s
    4     confidential financial information, including information about his accounts.
    5           29.    On information and belief, Defendants have used Mr. Pham’s name,
    6     voice, likeness and/or signature without Mr. Pham’s consent, including without
    7     limitation using Mr. Pham’s name and/or signature to invade Mr. Pham’s private
    8     accounts and to obtain private and financial information.
    9           30.    On information and belief, Defendants knowingly and without
   10     permission altered, damaged, deleted, destroyed, or otherwise used data, computer, or
   11     computer system, or computer network.
   12           31.    On information and belief, Defendants willfully obtained Mr. Pham’s
   13     personal identification information and used that information for unlawful purposes.
   14           32.    Upon learning of Defendants’ wrongful and infringing activities,
   15     Plaintiffs promptly served a cease and desist letter on Mak.
   16           33.    Instead of ceasing and desisting, Defendants have continued and
   17     exacerbated their wrongful and infringing activities, and made numerous threats,
   18     including threats of violence, toward Mr. Pham. For example, Ware threatened Mr.
   19     Pham in an email that “This is fair warning that you’ve crossed the line and [Mr.
   20     Pham and an employee of MGO] both will be extinguished.” Defendants’ course of
   21     conduct has caused substantial emotional distress to Mr. Pham.
   22                                     COUNT I
   23
                  Trademark Infringement In Violation of 15 U.S.C. § 1114 Et Seq.
                34.    Plaintiffs reallege and incorporate by reference each and every allegation
   24
          contained in the above paragraphs as if fully set forth herein.
   25
                35.    Defendants have displayed, provided and distributed products and/or
   26
          services that use the MISS GLOBAL trademarks and the officialmissglobal.com and
   27
          Miss Global domains without authorization. Defendants’ use of the MISS GLOBAL
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    1     trademarks and the Miss Global wordmark violates Mr. Pham’s rights in the MISS
    2     GLOBAL trademarks and is likely to cause confusion, deception, and mistake by
    3     creating the false and misleading impression that Defendants’ products and/or service
    4     are displayed, provided, distributed, endorsed, sponsored, approved, or licensed by
    5     Plaintiffs, or are associated or in connection with Plaintiffs, in violation of federal
    6     trademark law.
    7           36.    Defendants’ fraudulent activities have caused and, unless enjoined by
    8     this Court, will continue to cause a likelihood of confusion and deception of members
    9     of the trade and the public, and additional injury to Plaintiffs’ goodwill and reputation
   10     as symbolized by the MISS GLOBAL trademarks, for which Plaintiffs have no
   11     adequate remedy at law.
   12           37.    Defendants’ fraudulent activities demonstrate an intentional, willful, and
   13     malicious intent to trade on the goodwill associated with Mr. Pham’s federally
   14     registered trademark to Plaintiffs’ great and irreparable injury.
   15           38.    Defendants have caused and are likely to continue causing substantial
   16     injury to the public and to Plaintiffs, and Plaintiffs are entitled to injunctive relief and
   17     to recover Defendants’ profits, actual damages, enhanced profits and damages, costs
   18     and reasonable attorneys’ fees under 15 U.S.C. §§ 1114, 1116 and 1117.
   19                                        COUNT II
   20
                      Federal Unfair Competition In Violation of 15 U.S.C. § 1125
                39.    Plaintiffs reallege and incorporate by reference each and every allegation
   21
          contained in the above paragraphs as if fully set forth herein.
   22
                40.    Defendants’ unauthorized use of the MISS GLOBAL trademarks and the
   23
          Miss Global wordmark violates Mr. Pham’s rights in the MISS GLOBAL trademarks
   24
          and is likely to cause confusion, deception, and mistake by creating the false and
   25
          misleading impression that Defendants’ products and/or services are displayed,
   26
          provided, distributed, endorsed, sponsored, approved, or licensed by Plaintiffs, or are
   27
          associated or in connection with Plaintiffs, in violation of federal trademark law.
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    1           41.    Defendants have made false representations, false descriptions, and false
    2     designations of Plaintiffs’ goods and services in violation of 15 U.S.C. § 1125(a).
    3           42.    Defendants have used the domain name officialmissglobal.com and Miss
    4     Global Domains with a bad faith intent to profit from Mr. Pham’s federally registered
    5     trademark, and such domain is confusingly similar to Mr. Pham’s federally registered
    6     trademark in violation of 15 U.S.C. § 1125(d).
    7           43.    Defendants’ fraudulent activities have caused and, unless enjoined by
    8     this Court, will continue to cause a likelihood of confusion and deception of members
    9     of the public, and additional injury to Plaintiffs’ goodwill and reputation as
   10     symbolized by the MISS GLOBAL trademarks, for which Plaintiffs have no adequate
   11     remedy at law.
   12           44.    Defendants’ fraudulent activities demonstrate an intentional, willful, and
   13     malicious intent to trade on the goodwill associated with Mr. Pham’s federally
   14     registered trademark to Plaintiffs’ great and irreparable injury.
   15           45.    Defendants have caused and are likely to continue causing substantial
   16     injury to the public and to Plaintiffs, and Plaintiffs are entitled to injunctive relief and
   17     to recover Defendants’ profits, actual damages, enhanced profits and damages, costs
   18     and reasonable attorneys’ fees under 15 U.S.C. §§ 1125(a), 1125(d), 1116 and 1117.
   19                                         COUNT III
   20
                        California Statutory Unfair Competition In Violation of
                                    Cal. Bus. & Prof. Code § 17200
   21
                46.    Plaintiffs reallege and incorporate by reference each and every allegation
   22
          contained in the above paragraphs as if fully set forth herein.
   23
                47.    Defendants’ acts and conducts, as alleged above, constitute unfair
   24
          competition in violation of Cal. Bus. & Prof. Code § 17200. Defendants have
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          engaged in unlawful, unfair, or fraudulent business practices within the meaning of
   26
          Cal. Bus. & Prof. Code § 17200.
   27
                48.    Defendants intentionally infringed Plaintiffs’ trademarks, as alleged
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    1     above, to purposefully trade off the goodwill and reputation of Plaintiffs and to
    2     confuse and deceive consumers by creating the false and misleading impression that
    3     Defendants’ products and services are provided, distributed, endorsed, sponsored,
    4     approved, or licensed by Plaintiffs, or are associated with Plaintiffs.
    5             49.   On information and belief, Defendants performed the acts alleged herein
    6     intentionally, for the purpose of injuring Plaintiffs. The acts alleged herein continue to
    7     this day and present a threat to Plaintiffs, the general public, the trade and consumers.
    8             50.   As a result of Defendants’ wrongful acts, Plaintiffs have suffered and
    9     will continue to suffer loss of income, profits, and valuable business opportunities and
   10     if not preliminarily and permanently enjoined, Defendants will have unfairly derived
   11     and will continue to unfairly derive income, profits, and business opportunities as a
   12     result of their wrongful acts.
   13             51.   Pursuant to Cal. Bus. & Prof. Code § 17200, Plaintiffs seek an order of
   14     this Court preliminarily and permanently enjoining Defendants from continuing to
   15     engage in the unlawful, unfair, or fraudulent acts or practices set forth herein, as well
   16     as restitution or disgorgement of any monies received by Defendants through such
   17     acts.
   18                                        COUNT IV
   19
                              California Common Law Unfair Competition
                  52.   Plaintiffs reallege and incorporate by reference each and every allegation
   20
          contained in the above paragraphs as if fully set forth herein.
   21
                  53.   Defendants intended to use Mr. Pham’s MISS GLOBAL trademarks, or
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          confusingly similar imitations thereof, in a manner which is likely to confuse and
   23
          mislead members of the relevant public as to the origin, sponsorship, approval or
   24
          license of Defendants’ products and services and as to the false association of said
   25
          products and services with Plaintiffs. Defendants’ conduct as alleged herein was
   26
          intended to confuse and mislead members of the public, and members of the public
   27
          will believe that Plaintiffs are sponsored, approved, or affiliated with Defendants and
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    1     that Plaintiffs originated, approved, or licensed Defendants’ products and services.
    2           54.    Defendants’ conduct alleged herein infringes Mr. Pham’s MISS
    3     GLOBAL trademarks and constitutes passing off and common law unfair competition
    4     with Plaintiffs, all of which has damaged and will continue to irreparably damage
    5     Plaintiffs’ goodwill and reputation unless restrained by this Court, because Plaintiffs
    6     have no adequate remedy at law.
    7           55.    Plaintiffs have suffered and continue to suffer direct and actual damages
    8     as a result of Defendants’ infringing activities, including but not limited to lost sales
    9     and business opportunities and damage to Plaintiffs’ reputation and Mr. Pham’s MISS
   10     GLOBAL trademarks. Plaintiffs are entitled to recover their actual damages as well as
   11     Defendants’ profits generated from the promotion, distribution, sale, and offer for sale
   12     of Defendants’ products and services.
   13           56.    Because Defendants’ conduct alleged herein has been intentional,
   14     oppressive, malicious, fraudulent, and in willful disregard of Plaintiffs’ rights,
   15     Plaintiffs is also entitled to recover punitive and exemplary damages.
   16           57.    Plaintiffs have suffered, and if Defendants are not enjoined from their
   17     wrongful acts of common law trademark infringement, passing off and unfair
   18     competition, will continue to suffer great and irreparable injury, loss and damages to
   19     their rights in and to the MISS GLOBAL trademarks and the goodwill associated
   20     therewith for which they have no adequate remedy at law.
   21                                            COUNT V
   22
                                              Civil Conspiracy
                58.    Plaintiffs reallege and incorporate by reference each and every allegation
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          contained in the above paragraphs as if fully set forth herein.
   24
                59.    On information and belief, Defendants knowingly and willfully
   25
          conspired and agreed between each other to engage in a scheme to commit the
   26
          aforementioned wrongful acts, including without limitation, engaging in the above-
   27
          described unlawful, unfair or fraudulent business acts or practices within the meaning
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    1     of Cal. Bus. & Prof. Code § 17200 for the purpose of injuring Plaintiffs.
    2           60.    The above-described acts continue to this day and present a threat to
    3     Plaintiffs and the general public, including consumers.
    4           61.    Defendants did the above-described acts pursuant to and in furtherance
    5     of the conspiracy and scheme to commit the aforementioned wrongful acts, including
    6     without limitation engaging in the above-described unlawful, unfair or fraudulent
    7     business acts or practices within the meaning of Cal. Bus. & Prof. Code § 17200 for
    8     the purpose of injuring Plaintiffs.
    9           62.    Defendants have conspired and schemed in the above-described
   10     unlawful, unfair or fraudulent business acts or practices in furtherance of their own
   11     financial gain.
   12           63.    Plaintiffs have been and are likely to continue to be injured as a result of
   13     Defendants actions, either by direct diversion of substantial income from MGO or by
   14     a lessening of the goodwill associated with Plaintiffs and the services they provide,
   15     for which Plaintiffs have no adequate remedy at law. If Defendants are not enjoined,
   16     they will continue to unfairly derive income, profits and/or business opportunities as a
   17     result of their unlawful, unfair or fraudulent business acts or practices.
   18                                           COUNT VI
   19
                                                  Fraud
                64.    Plaintiffs reallege and incorporate by reference each and every allegation
   20
          contained in the above paragraphs as if fully set forth herein.
   21
                65.    On information and belief, on or around November 22, 2017, Defendants
   22
          fraudulently filed a SOI with the California Secretary of State for MGO, falsely
   23
          listing Mak as the Founder and CEO of MGO.
   24
                66.    Defendants knew that the information they provided in the SOI was false
   25
          because Mak has never been a founder or CEO of MGO.
   26
                67.    Defendants purposefully and knowingly intended to defraud the
   27
          California Secretary of State in an attempt to obtain false registration information for
   28

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    1     MGO. As a result of Defendants’ fraudulent conduct, the California Secretary of
    2     State website now lists Mak as the agent for service of process and “President and
    3     CEO” of MGO and an address associated with Mak as the address for MGO.
    4           68.     Defendants’ fraudulent conduct has caused substantial harm to Plaintiffs.
    5     For example, some of Plaintiffs’ business partners and potential investors now
    6     wrongly believe that Mak is the CEO of MGO and direct their contact with MGO
    7     through Mak and not Mr. Pham. On information and belief, Defendants also
    8     instructed MGO’s business partners that their contracts with Mr. Pham were void and
    9     that their contracts needed to be reinstated with Defendants instead.
   10           69.     Plaintiffs have been and are likely to continue to be injured as a result of
   11     Defendants actions either by direct diversion of substantial income from MGO or by a
   12     lessening of the goodwill associated with Plaintiffs and the services they provide, for
   13     which Plaintiffs have no adequate remedy at law. If Defendants are not enjoined,
   14     they will continue to unfairly derive income, profits and/or business opportunities as a
   15     result of their unlawful, unfair or fraudulent business acts or practices.
   16           70.     By willfully disturbing Mr. Pham’s current business relationships,
   17     Defendants damaged Mr. Pham’s reputation among business partners and colleagues,
   18     and intentionally interfered with Mr. Pham’s contractual relations, intentionally
   19     interfered with Mr. Pham’s prospective economic relations and attempted to induce
   20     breach of contract.
   21                                          COUNT VII
   22
                      Intentional Interference with Prospective Economic Relations
                71.     Plaintiffs reallege and incorporate by reference each and every allegation
   23
          contained in the above paragraphs as if fully set forth herein.
   24
                72.     There are existing economic relationship between Plaintiffs and third
   25
          parties that are reasonably likely to yield economic advantage. For examples,
   26
          Plaintiffs have licensed the MISS GLOBAL marks and/or granted pageant licenses to
   27
          national directors from 20 different countries and have been receiving royalties based
   28

                                                     13
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    1     on that license.
    2           73.    Defendants have knowledge of Plaintiffs’ economic relationships.
    3           74.    On information and belief, Defendants have intentionally and
    4     purposefully intended to disrupt Plaintiffs’ relationships by instructing MGO’s
    5     business partners that their contracts with Mr. Pham were void and that their contracts
    6     needed to be reinstated with Defendants instead.
    7           75.    Defendants’ wrongful acts have caused substantial harm to Plaintiffs.
    8     Plaintiffs have been and are likely to continue to be injured as a result of Defendants’
    9     actions either by direct diversion of substantial income from MGO or by a lessening
   10     of the goodwill associated with Plaintiffs and the services they provide, for which
   11     Plaintiffs have no adequate remedy at law.
   12                                            COUNT VIII
   13
                             Intentional Interference with Contractual Relations
                76.    Plaintiffs reallege and incorporate by reference each and every allegation
   14
          contained in the above paragraphs as if fully set forth herein.
   15
                77.    There are valid contracts between Plaintiffs and third parties. For
   16
          examples, Plaintiffs have licensed the MISS GLOBAL marks and/or granted pageant
   17
          licenses to national directors from 20 different countries and have been receiving
   18
          royalties based on that license.
   19
                78.    Defendants knew of the existence of these contracts.
   20
                79.    On information and belief, Defendants intentionally induced a breach or
   21
          disruption of the contractual relationship by instructing MGO’s business partners to
   22
          rescind their contracts with Mr. Pham.
   23
                80.    As a result, several national directors have contacted Mr. Pham and
   24
          demanded a refund of their license fees.
   25
                                                COUNT IX
   26
                                                Defamation
   27
                81.    Plaintiffs reallege and incorporate by reference each and every allegation
   28

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    1     contained in the above paragraphs as if fully set forth herein.
    2           82.    Defendants have published false and defamatory statements that have a
    3     natural tendency to injure or causes special harm to Plaintiffs. For example,
    4     Defendants have posted on Facebook that “Van also tried to steal the business license
    5     from me” and “now [Mr. Pham] are attempting to defraud the business.” Such
    6     publications are false, defamatory, and unprivileged, and have tarnished Mr. Pham’s
    7     name and reputation.
    8                                           COUNT X
    9
                                                Conversion
                83.    Plaintiffs reallege and incorporate by reference each and every allegation
   10
          contained in the above paragraphs as if fully set forth herein.
   11
                84.    Mr. Pham is the owner of the Miss Global Domains. On information and
   12
          belief, Defendants have hacked into Mr. Pham’s private web-hosting account to
   13
          transfer ownership of the Miss Global Domains away from Mr. Pham. Defendants’
   14
          wrongful conduct constitutes an act of conversion.
   15
                85.    Defendants’ wrongful conduct has caused substantial harm to Plaintiffs.
   16
          For example, Plaintiffs’ Miss Global Domains have become inoperative due to
   17
          Defendants’ wrongful conduct.
   18
                                               COUNT XI
   19
                                     Constitutional Right to Privacy
   20
                86.    Plaintiffs reallege and incorporate by reference each and every allegation
   21
          contained in the above paragraphs as if fully set forth herein.
   22
                87.    Mr. Pham has a legally protected privacy interest in his confidential
   23
          financial affairs and information, including information about his private accounts.
   24
          He has a reasonable expectation of privacy under such circumstances.
   25
                88.    On information and belief, Defendants obtained Mr. Pham’s confidential
   26
          financial information. Defendants’ wrongful conduct amounts to a serious invasion
   27
          of Mr. Pham’s protected privacy interest.
   28

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    1           89.    Defendants’ wrongful conduct has caused substantial harm to Mr. Pham.
    2                                       COUNT XII
    3
                                 Misappropriation of Name of Likeness
                90.    Plaintiffs reallege and incorporate by reference each and every allegation
    4
          contained in the above paragraphs as if fully set forth herein.
    5
                91.    On information and belief, Defendants have used Mr. Pham’s name,
    6
          voice, likeness and/or signature without Mr. Pham’s consent, including without
    7
          limitation using Mr. Pham’s name and/or signature to invade Mr. Pham’s private
    8
          accounts and to obtain private and financial information.
    9
                92.    Defendants’ wrongful conduct has caused substantial harm to Mr. Pham.
   10
                                             COUNT XIII
   11
                               Violation of California Civil Code § 527.6
   12
                93.    Plaintiffs reallege and incorporate by reference each and every allegation
   13
          contained in the above paragraphs as if fully set forth herein.
   14
                94.    Defendants have made numerous threats, including threats of violence,
   15
          toward Mr. Pham. For example, Ware threatened Mr. Pham in an email that “This is
   16
          fair warning that you’ve crossed the line and [Mr. Pham and an employee of MGO]
   17
          both will be extinguished.” Defendants’ course of conduct has caused substantial
   18
          emotional distress to Mr. Pham.
   19                                          Count XIV
   20
                                Violation of California Civil Code § 3344
                95.    Plaintiffs reallege and incorporate by reference each and every allegation
   21
          contained in the above paragraphs as if fully set forth herein.
   22
                96.    On information and belief, Defendants have used Mr. Pham’s name,
   23
          voice, likeness and/or signature without Mr. Pham’s consent, including without
   24
          limitation using Mr. Pham’s name and/or signature to invade Mr. Pham’s private
   25
          accounts and to obtain private and financial information.
   26
                97.    Defendants’ wrongful conduct has caused substantial harm to Mr. Pham.
   27

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    1                                           COUNT XV
    2
                                  Violation of California Penal Code § 502
                   98.    Plaintiffs reallege and incorporate by reference each and every allegation
    3
          contained in the above paragraphs as if fully set forth herein.
    4
                   99.    On information and belief, Defendants violated California Penal Code §
    5
          502(c)(1) by knowingly and without permission altering, damaging, deleting,
    6
          destroying, or otherwise using data, a computer or computer system, or computer
    7
          network, in order to devise or execute a scheme to defraud as described in the above
    8
          paragraphs, and to wrongfully control or obtain Plaintiffs’ money, property, or data.
    9
                   100.   Plaintiffs have suffered irreparable harm from Defendants’ wrongful
   10
          acts, and have no adequate remedy at law, and are therefore entitled to injunctive
   11
          relief and other equitable relief under California Penal Code § 502(e)(1).
   12
                   101. Plaintiffs are also entitled to recover their reasonable attorneys’ fees
   13
          under California Penal Code § 502(e)(2).
   14
                                               COUNT XVI
   15
                                 Violation of California Penal Code § 530.5
   16
              102.        Plaintiffs reallege and incorporate by reference each and every allegation
   17
          contained in the above paragraphs as if fully set forth herein.
   18
              103.        On information and belief, Defendants willfully obtained Mr. Pham’s
   19
          personal identification information and used that information for unlawful purposes as
   20
          described in the above paraphrases.
   21
                                           PRAYER FOR RELIEF
   22
                   WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
   23
                   (a)    For all actual and compensatory damages in an amount to be proven at
   24
          trial;
   25
                   (b)    For an injunction requiring Defendants and all persons acting under, in
   26
          concert with, or for them to cease use of the MISS GLOBAL trademarks;
   27
                   (c)    For an injunction requiring Defendants to cease offering any products or
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    1     services bearing MISS GLOBAL trademarks;
    2           (d)    For an injunction requiring Defendants to cease holding themselves out
    3     as founder, president, CEO, CFO or as any other part of MGO;
    4           (e)    For an order prohibiting Defendants from continuing to engage in the
    5     unlawful, unfair or fraudulent acts or practices alleged herein and requiring
    6     Defendants to engage in a corrective advertising or informational campaign, pursuant
    7     to Cal. Bus. & Prof. Code § 17200;
    8           (f)    For a finding that Defendants’ acts of trademark infringement and unfair
    9     competition were knowing and willful, and an exceptional case within the meaning of
   10     15 U.S.C. § 1117;
   11           (g)    For an award of treble and punitive damages, pre- and post-judgment
   12     interest, enhanced damages and costs, as well as reasonable attorneys’ fees and costs,
   13     pursuant to 15 U.S.C. § 1117, Cal. Civ. Code § 3344, and California Penal Code §
   14     502(e)(2);
   15           (h)    For a temporary restraining order enjoining Defendants from harassing,
   16     intimidating, attacking, threatening, stalking, coming within a close distance of, or
   17     disturbing the peace of Mr. Pham.
   18           (i)    For any such other and further relief that the Court deems just and
   19     proper.
   20

   21     DATED: December 20, 2017                   Respectfully submitted,
   22                                                GLASER WEIL FINK HOWARD
                                                      AVCHEN & SHAPIRO LLP
   23

   24
                                                     By: /s/ Erica J.Van Loon
   25                                                ERICA J. VAN LOON
                                                     DAN LIU
   26                                                BRITTANY ELIAS
   27                                                Attorneys for Plaintiffs
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    1                                DEMAND FOR JURY TRIAL
    2           Plaintiffs demand a trial by jury on all issues so triable pursuant to Rule 38 of
    3     the Federal Rules of Civil Procedure.
    4

    5     DATED: December 20, 2017                    Respectfully submitted,
    6                                                 GLASER WEIL FINK HOWARD
                                                       AVCHEN & SHAPIRO LLP
    7

    8
                                                      By: /s/ Erica J.Van Loon
    9                                                 ERICA J. VAN LOON
                                                      DAN LIU
   10                                                 BRITTANY ELIAS
   11                                                 Attorneys for Plaintiffs
   12

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                           Exhibit A
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                           Exhibit B
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                            Secretary of State                                                      LLC-12                                        17-B53968
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  NOV 22, 2017
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  MISS GLOBAL ORGANIZATION LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201209810211                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 1510 Bascom Ave #29                                                                                 Campbell                                                      CA       95008
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 1510 Bascom Ave #29                                                                                 Campbell                                                      CA       95008
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 1510 Bascom Ave #29                                                                                 Campbell                                                       CA       95008
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                          Suffix


 b. Entity Name - Do not complete Item 5a
  Sokhuntea Mak
 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  1510 Bascom Ave #29                                                                                Campbell                                                      CA       95008
 6. Service of Process (Must provide either Individual OR Corporation.)

      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.

 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                          Suffix
 Sokhuntea                                                                                                                           Mak
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 1510 Bascom Ave #29                                                                                 Campbell                                                       CA        95008
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 International beauty pageant
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                          Suffix
 Sokhuntea                                                                                                                            Mak
 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code
 1510 Bascom Ave #29                                                                                 Campbell                                                       CA      95008
 9. The Information contained herein, including any attachments, is true and correct.

   11/22/2017                    Sokhuntea Mak                                                                         Founder and CEO
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                            2017 California Secretary of State

                                                                                                                                                      www.sos.ca.gov/business/be

